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               IN THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF TEXAS – FORT WORTH DIVISION
                                      :
 SHERLEY WOODS, as Administratrix for :
 the                                  :
 ESTATE OF O’SHAE TERRY,              :
                                      : Civil Action No. 4:19-cv-00696-O
 AND                                  :
                                      :
 TERRENCE HARMON,                     :
                     Plaintiffs,      :
 v.                                   :
                                      :
 THE CITY OF ARLINGTON, TEXAS         :
                                      :
 AND                                  :
                                      :
 BAU TRAN,                            :


       Defendants.

                                 NOTICE OF APPEAL
       Notice is hereby given that the Plaintiffs, Sherley Woods, as Administratrix of the
Estate of O’Shae Terry, and Terrence Harmon, hereby appeal to the United States Court
of Appeals for the Fifth Circuit from the Order granting Defendant Bau Tran’s Motion
to Dismiss and granting Defendant The City of Arlington, Texas’s Motion to Dismiss
entered in this action on August 12, 2020.
                                                Respectfully submitted,


                                                /s/ John J. Coyle
                                                John J. Coyle, Esq.
                                                Attorney for the Plaintiffs

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Date: August 13, 2020
